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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF SOUTH CAROLINA
                                GREENVILLE DIVISION

 United States Fidelity and Guaranty
 Company,
                                                       Case Number: 6:19-cv-02980-HMH
                                       Plaintiff,
                                                        NOTICE OF APPEARANCE OF
                       Vs.                          BRIAN BARNWELL FOR THE RECEIVER
                                                      FOR SOUTHERN INSULATION, INC.
 Southern Insulation, Inc.,

                                    Defendant.


       The undersigned, Brian Barnwell, hereby enters an appearance on behalf of the Receiver

of Southern Insulation, Inc., Peter D. Protopapas, in the above captioned matter.


                                                            RIKARD & PROTOPAPAS, LLC

                                                            s/ Brian Barnwell
                                                            Brian M. Barnwell, Esquire
                                                            Fed Bar ID: 10624
                                                            Rikard & Protopapas, LLC
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This 18th Day of August, 2020
